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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               :
 STEWART SMITH,                                :            CIVIL ACTION
                                               :
               Plaintiff,                      :
                                               :
                      v.                       :            No. 19-cv-1170
                                               :
 EGV COMPANIES, INC.,                          :
                                               :
               Defendant.                      :
                                               :

                                          ORDER

       AND NOW, this 7th day of May, 2019, upon consideration of Defendant’s Motion to

Withdraw the Answer (ECF No. 10), and the Joint Stipulation for an Enlargement of Time (ECF

No. 11), is hereby ORDERED that:

         – Defendants’s Motion to Withdraw the Answer (ECF No. 10) and the Joint

             Stipulation (ECF No. 11) are GRANTED pursuant to Federal Rule of Civil

             Procedure 15(a), such that Defendant may file an amended answer on or before

             May 20, 2019; and

         – My April 23, 2019 Order scheduling a Rule 16 telephone conference for May 23,

             2019 (ECF No. 7) is unaffected by this Order, and will be held as scheduled.



                                                     BY THE COURT:



                                                     /s/ Mitchell S. Goldberg

                                                     MITCHELL S. GOLDBERG, J.
